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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT _ baited ststes coun of appeals

Fifth Circuit

FILED
August 22, 2011
No. 08-31186
Summary Calendar Lyle W. Cayce

Clerk
UNITED STATES OF AMERICA,
Plaintiff-Appellee
v.
HENRY WILLIAMS III, also known as Hen,

Defendant-Appellant

 

Appeal from the United States District Court
for the Eastern District of Louisiana
USDC No. 2:05-CR-224-1

 

Before KING, JOLLY, and GRAVES, Circuit Judges.
PER CURIAM:

The attorney appointed to represent Henry Williams [II has moved for
leave to withdraw pursuant to Anders v. California, 386 U.S. 738 (1967).
Williams has not filed a response. Counsel fails to adequately address the sole
issue on appeal: whether Williams's career offender status precluded his
receiving a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2). Nevertheless,
the appeal is patently frivolous. See United States v. Anderson, 591 F.3d 789,
790-91 (5th Cir. 2009). The motion for leave to withdraw is GRANTED, counsel

 

* Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH Cir,
R. 47.5.4,

 

 
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is excused from further responsibilities herein, and the APPEAL IS
DISMISSED. See 5TH CIR. R. 42.2.

 
